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     Attorney for Defendant
5
     JESSICA CORRO
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8                                UNITED STATES DISTRICT COURT

9                               EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                        Case No.: 2:15-CR-140 MCE
12
                   Plaintiff,
13
     vs.                                              STIPULATION AND [PROPOSED] ORDER
14                                                    MODIFYING DEFENDANT’S SPECIAL
     JESSICA CORRO,                                   CONDITIONS OF RELEASE
15

16                 Defendant.

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21
            Defendant Jessica Corro is presently released on pre-trial conditions after being charged
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23   by Indictment as a participant in a conspiracy to distribute methamphetamine. The parties to this

24   action, Plaintiff United States of America by and through Assistant United States Attorney Paul
25   Hemesath, and Defendant Jessica Corro by and through her attorney Todd D. Leras, stipulate as
26
     follows:
27
     ORDER MODIFYING PRE-TRIAL
28   RELEASE CONDITION
                Case 2:15-cr-00140-DC Document 47 Filed 12/08/15 Page 2 of 4


1          1.   Following a continued detention hearing, held on July 15, 2015, United States
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                Magistrate Judge Edmund F. Brennan ordered Jessica Corro released on a $100,000
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                co-signed unsecured bond and various special conditions of release. One condition of
4
                release, Special Condition Number 13, required Ms. Corro to participate in a location
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6               monitoring program using a radio frequency transmitter device (hereafter referred to

7               as the “electronic monitoring condition”).
8
           2. Ms. Corro presently lives with her mother in a residence located in Anaheim,
9
                California. Her electronic monitoring condition is therefore subject to courtesy
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                supervision by a pre-trial services officer in the Central District of California.
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12         3. On November 13, 2015, Location Monitoring Specialist Amaryllis Gonzalez with

13              Pre-Trial Services in the Eastern District of California contacted the assigned
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                prosecutor and Ms. Corro’s counsel by email. Officer Gonzalez reported that Ms.
15
                Corro has maintained stable employment, reports as directed, and has no sustained
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                substantive violations since her release on July 15, 2015. Officer Gonzalez inquired
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18              as to whether the parties would agree to removal of the electronic monitoring

19              condition provided all other release conditions remain in full force and effect.
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           4. On December 3, 2015, Assistant U.S. Attorney Paul Hemesath sent a reply email to
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                Officer Gonzalez and defense counsel. AUSA Hemesath indicated that after having
22
                an opportunity to review the matter and confer with the investigating officer
23

24              regarding the proposal, the government had no objection to removal of the electronic

25              monitoring condition.
26
           The parties therefore request modification of Ms. Corro’s Special Conditions of Release
27
     ORDER MODIFYING PRE-TRIAL
28   RELEASE CONDITION
               Case 2:15-cr-00140-DC Document 47 Filed 12/08/15 Page 3 of 4


1    to remove Special Condition Number 13 relating to electronic monitoring. All other general and
2
     special conditions of release ordered by United States Magistrate Judge Edmund F. Brennan on
3
     July 15, 2015 remain in full force and effect. Assistant U.S. Attorney Paul Hemesath has
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     reviewed this stipulation and proposed order and authorized Todd Leras to sign it on his behalf.
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7    DATED: December 7, 2015
                                                         By      Todd D. Leras for
8
                                                                 PAUL HEMESATH
9                                                                Assistant United States Attorney

10   DATED: December 4, 2015
                                                         By      /s/ Todd D. Leras
11
                                                                 TODD D. LERAS
12                                                               Attorney for Defendant
                                                                 JESSICA CORRO
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     ORDER MODIFYING PRE-TRIAL
28   RELEASE CONDITION
                 Case 2:15-cr-00140-DC Document 47 Filed 12/08/15 Page 4 of 4


1                                                 ORDER
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               BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES, it is
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     hereby ordered that Special Condition 13, requiring Defendant Jessica Corro to participate in
4
     electronic monitoring as a condition of her pre-trial release is eliminated. All other general and
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6    special conditions of release imposed by this Court on July 15, 2015 remain in full force and

7    effect.
8
     Dated: December 8, 2015
9                                                     _____________________________________
                                                      CAROLYN K. DELANEY
10                                                    UNITED STATES MAGISTRATE JUDGE
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     ORDER MODIFYING PRE-TRIAL
28   RELEASE CONDITION
